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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
               v.                              :      Case No. 1:21-cr-214 (JDB)
                                               :
JOSEPH LINO PADILLA,                           :
also known as “Jose Padilla,”                  :
                                               :
                       Defendant.              :

                                    JOINT STATUS REPORT

       Pursuant to the Court’s March 14, 2023 Order, ECF No. 74, the parties have met and

conferred. The parties agree that, based upon the Court’s guidance as indicated in the referenced

Order, Defendant’s Counsel will propose a specific phone consultation schedule to the detention

facility and report back to Court and Counsel if an adequate solution cannot be reached. The

parties further agree that the Court does not need to take any additional steps at this time to remedy

the issues raised by the Defendant in his request for access to discovery. ECF No. 70.

                                               Respectfully submitted,

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                                               UNITED STATES ATTORNEY
                                               D.C. Bar Number 481052

                                                /s/ Douglas B. Brasher
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                           For the Defendant,

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